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                                        ORDERED.


         Dated: July 03, 2019




                                UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        FT. MYERS DIVISION

In re:                                                        Case No. 9:19-bk-05580
                                                              Chapter 7
LOUIS ALAN MAIER,

      Debtor.
_______________________/


                  ORDER GRANTING QBE INSURANCE CORP.’S EMERGENCY
                      MOTION TO PRESERVE ASSETS OF THE ESTATE

          This Matter came before the Court on July 1, 2019, for hearing of Creditor, QBE INSURANCE

CORP.’s, Emergency Motion to Preserve Assets of the Estate (Doc. 11). For the reasons stated on the

record in open court, which shall constitute the Court’s decision, the Court has determined the Motion

should be granted. Accordingly, it is

          ORDERED:

          1.     The Motion is GRANTED.
          2.     Debtor shall not assign, transfer, hypothecate, or otherwise dissipate any assets belonging

to, or held in Debtor’s name as of the date of the filing of the Voluntary Petition for Chapter 7

Bankruptcy (Doc. 1), June 12, 2019, without prior order of this Court.

        Attorney James S. Myers is directed to serve a copy of this Order on interested parties and to file
a proof of service within 3 days of entry of the date of this Order.
